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                      esIN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO et al.,                 §
             Plaintiffs                            §
                                                   §
-vs-                                               §                  SA-21-CV-00844-XR
                                                   §
GREGORY W. ABBOTT, IN HIS                          §                  CONSOLIDATED CASES
OFFICIAL CAPACITY AS GOVENOR                       §
OF TEXAS et al.;                                   §
                 Defendants                        §

                                            ORDER

       On this date, the Court considered the parties’ joint motion to clarify the scheduling order
(ECF No. 542). The pending motion is set for a hearing on Tuesday, March 07, 2023 at 4:00
p.m. in Courtroom H, United States Courthouse, 262 West Nueva, San Antonio, Texas 78207. If
the parties wish to proceed via Zoom, they must notify the Courtroom Deputy, Sylvia
Fernandez, at least 24 hours in advance. Finally, due to a scheduling conflict, the parties
should also be prepared to discuss a new trial date.

       It is so ORDERED.

       SIGNED this 3rd day of March, 2023.




                                                       XAVIER RODRIGUEZ
                                                       UNITED STATES DISTRICT JUDGE
